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                                                                                     FILED

                  IN THE UNITED STATES DISTRICT COUR"                              APR 1 7 2018
                  FOR THE EASTERN DISTRICT OF VIRGINI
                            NEWPORT NEWS DIVISION                             CLERK. U.S. DISTRICT COURT
                                                                                     NORFOLK, VA




 UNITED STATES OF AMERICA,




       V.                                      Case No.     4:17cr45


 JOSEPH JAMES CAIN BENSTON, et. al.

              Defendant




                                      ORDER



       The jurors in the above entitled case having been sequestered, IT IS

 ORDERED that the United States Marshal furnish them meals at the expense of

 the United States, submitting the bills to the Clerk of this Court for payment.




 Newport News, Virginia                                   Raymond A.J
                                                                        District
 Date: April 17, 2018
